USDC IN/ND case 3:19-cv-00041-JD-MGG document 3 filed 12/28/18 page 1 of 7
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USDC IN/ND case 3:19-cv-00041-JD-MGG document 3 filed 12/28/18 page 2 of 7
USDC IN/ND case 3:19-cv-00041-JD-MGG document 3 filed 12/28/18 page 3 of 7
USDC IN/ND case 3:19-cv-00041-JD-MGG document 3 filed 12/28/18 page 4 of 7
USDC IN/ND case 3:19-cv-00041-JD-MGG document 3 filed 12/28/18 page 5 of 7
USDC IN/ND case 3:19-cv-00041-JD-MGG document 3 filed 12/28/18 page 6 of 7
USDC IN/ND case 3:19-cv-00041-JD-MGG document 3 filed 12/28/18 page 7 of 7
